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     A Professional Corporation
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5

6    Attorney for Defendant
     CHARLES HEAD
7

8
                                  UNITED STATES DISTRICT COURT
9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                  )
11   UNITED STATES OF AMERICA,                    )   Case Nos. 2:08-CR-093 & 116-KJM
                                                  )
12                                                )   STIPULATION AND [PROPOSED]
                            Plaintiff,            )   ORDER RE: EXONERATION OF
13                                                )   SECURED AND UNSECURED
             vs.                                  )
14                                                )   BAIL FOR DEFENDANT
     CHARLES HEAD, et al.,                        )   CHARLES HEAD
15                                                )
                           Defendants.            )
16                                                )
                                                  )
17

18           The United States of America, by and through Assistant United States

19   Attorney Michael D. Anderson, and defendant Charles Head, by and through
20
     counsel Scott L. Tedmon, hereby agree and stipulate to the exoneration of the
21
     secured and unsecured bail for defendant Charles Head. The basis for this
22
     stipulation is as follows:
23

24           1.    On April 29, 2010, defendant Charles Head was ordered released on a

25                 combination of secured and unsecured bail in the aggregate amount of
26
                   $313,000.
27
             2. On August 7, 2013, defendant Charles Head was detained without bail by
28
                   United States Magistrate Judge Allison Claire.


     Stipulation and [Proposed] Order                               Case Nos. 2:08-CR-093 & 116-KJM
                                                  1
     Case 2:08-cr-00093-KJM-AC Document 860 Filed 09/27/13 Page 2 of 2


1            3. Defendant Charles Head currently remains in custody without bail.
2
             4. Given defendant Charles Head’s no bail detention, there is no need for the
3
                 posted secured and unsecured bail to remain in effect.
4
             Based on the foregoing, the undersigned parties agree and stipulate the
5

6    heretofore posted secured and unsecured bail on behalf of defendant Charles Head

7    be exonerated.
8
     IT IS SO STIPULATED.
9
     DATED: September 26, 2013                 BENJAMIN B. WAGNER
10                                             United States Attorney
11
                                               /s/ Michael D. Anderson
12                                             MICHAEL D. ANDERSON
                                               Assistant United States Attorney
13

14
     DATED: September 26, 2013                 LAW OFFICES OF SCOTT L. TEDMON
15
                                               /s/ Scott L. Tedmon
16                                             SCOTT L. TEDMON
                                               Attorney for Defendant Charles Head
17

18

19                                          ORDER
20

21           GOOD CAUSED APPEARING and based on the foregoing stipulation, it is

22   hereby ordered the secured and unsecured bail posted on behalf of defendant
23
     Charles Head is hereby exonerated.
24
     IT IS SO ORDERED.
25
     Dated: September 27, 2013
26

27                                                  _____________________________________
                                                    CAROLYN K. DELANEY
28                                                  UNITED STATES MAGISTRATE JUDGE



     Stipulation and [Proposed] Order                           Case Nos. 2:08-CR-093 & 116-KJM
                                                2
